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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 17-24663-CV-MARTINEZ

  JUAN CARLOS PORTIELES,

         Petitioner,

  v.

  MARK S. INCH,

        Respondent.
  ___________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THE MATTER was referred to the Honorable Lisette M. Reid, United States Magistrate
  Judge, for a Report and Recommendation on Petitioner’s Petition for Writ of Habeas Corpus
  pursuant to 28 U.S.C. § 2254 (DE 2). Magistrate Judge Reid filed a Report and Recommendation
  (“R&R”) recommending that the Petition be denied. Judge Reid concluded that some of
  Petitioner’s claims are unexhausted and procedurally defaulted, while others fail on the merits.
  (DE 22). Petitioner filed objections. (DE 30). The Court having carefully reviewed the R&R,
  objections, and the record in this case de novo, it is hereby
         ORDERED AND ADJUDGED that United States Magistrate Judge Reid’s Report and
  Recommendation (DE 22) is AFFIRMED and ADOPTED. The Petition is DENIED. No
  certificate of appealability shall issue. The Clerk is directed to mark this case CLOSED and DENY
  pending motions as moot.
         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of October, 2020.



                                                        ____________________________________
                                                        JOSE E. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE
